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               Exhibit 5
        (Filed Under Seal)
    CASE 0:16-cv-01054-DTS Doc. 503-2 Filed 08/26/19 Page 2 of 6




                        In the Matter Of:


                FAIR ISAAC CORPORATION
                                   vs
       FEDERAL INSURANCE COMPANY, et al.


_____________________________________________


                     RAMESH PANDEY
                      November 13, 2018


_____________________________________________
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                       RAMESH PANDEY - 11/13/2018                     ·

 ·1· · · · · · · ·UNITED STATES DISTRICT COURT
 · · · · · · · · · · DISTRICT OF MINNESOTA
 ·2
 · · · FAIR ISAAC CORPORATION,· · :· Case No.
 ·3· · a Delaware corporation,· · :· 16-cv-1054(WMW/DTS)
 · · · · · · · · ·Plaintiff,· · · :
 ·4· · · · · · · · · · · · · · · ·:
 · · · · · · · · ·v.· · · · · · · :
 ·5· · · · · · · · · · · · · · · ·:
 · · · FEDERAL INSURANCE· · · · · :
 ·6· · COMPANY, an Indiana· · · · :
 · · · corporation, and ACE· · · ·:
 ·7· · AMERICAN INSURANCE· · · · ·:
 · · · COMPANY, a Pennsylvania· · :
 ·8· · corporation,· · · · · · · ·:
 · · · · · · · · ·Defendants.· · ·:
 ·9

 10· · · · · ·Transcript of the videotape deposition of

 11· ·RAMESH PANDEY, called for Oral Examination in the

 12· ·above-captioned matter, said deposition taken by and

 13· ·before SILVIA P. WAGE, a Certified Shorthand

 14· ·Reporter, Certified Realtime Reporter, Registered

 15· ·Professional Reporter, and Notary Public for the

 16· ·States of New Jersey, New York and Pennsylvania, at

 17· ·REGUS, 55 Madison Avenue, Fourth Floor, Morristown,

 18· ·New Jersey, on Tuesday, November 13, 2018,

 19· ·commencing at 9:08 a.m.

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 25· ·JOB NO. MP-192938


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·6· · · · · ·Counsel for the Plaintiff                      · · · · · · · · · · · ·Confidential - Attorneys'
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·9· · · · · ·Minneapolis, Minnesota· 55402-1425             · · · · · · · · · · · ·FED014156_0002 and
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·1· ·we'll move on from there.                              ·1· · · · · Q.· · · Yes.
·2· · · · · · · · · MR. FLEMING:· He did say that, but...   ·2· · · · · · · · · (There is a discussion off the
·3· · · · · A.· · · I don't recall it.· I don't remember    ·3· · · · · · ·record.)
·4· ·it.                                                    ·4· · · · · A.· · · Column "N" for Nancy.
·5· · · · · · · · · MR. FLEMING:· That's what he said.      ·5· · · · · Q.· · · And then you see "Raleigh" is
·6· · · · · Q.· · · I did not hear that answer so...        ·6· ·identified a couple of times.
·7· · · · · A.· · · I was just telling that the guy         ·7· · · · · · · · · That's Raleigh, North Carolina?
·8· ·started, you know, this was created in May.· It was    ·8· · · · · A.· · · Yes, data center.
·9· ·too early for me, probably.                            ·9· · · · · Q.· · · And then it identifies Toronto as a
10· · · · · Q.· · · Good.                                   10· ·data center?
11· · · · · A.· · · I was learning more Chubb at that       11· · · · · A.· · · Yes.
12· ·time.                                                  12· · · · · Q.· · · Is Toronto still a data center for
13· · · · · Q.· · · Okay.                                   13· ·Blaze Advisor?
14· · · · · · · · · (Deposition Exhibit 160, e-mail         14· · · · · A.· · · I don't think so.· With Toronto --
15· · · · · · ·string FED003522_0001 to FED003522_0004      15· ·what happened, actually, we are consolidating the
16· · · · · · ·marked Confidential and attachment, was      16· ·data centers.· We had 48 data centers before.
17· · · · · · ·marked for identification.)                  17· ·Raleigh was one of them.· Canada was another one.
18· · · · · Q.· · · This document, Exhibit 160, you see     18· · · · · Q.· · · Before when, if I can interrupt?
19· ·in the first page from its date, July 7, 2014, is, I   19· · · · · A.· · · Before merger.
20· ·guess, similarly at the beginning of your time with    20· · · · · Q.· · · Okay.
21· ·the company.                                           21· · · · · A.· · · And after that, we made that we need
22· · · · · · · · · You're not shown as being on the        22· ·only eight data centers.· And Canada was not one of
23· ·e-mail.                                                23· ·those eight.· So we are migrating everything to
24· · · · · A.· · · Yeah, I'm not.                          24· ·Raleigh.
25· · · · · Q.· · · Okay.· Can you identify the nature of   25· · · · · Q.· · · How many data centers today are there

                                               Page 155                                                    Page 157
·1· ·the attachment entitled, "CAZ ChEAR report"?· Do you   ·1· ·in the United States?
·2· ·know what that means?                                  ·2· · · · · A.· · · Oh, you have to have only two,
·3· · · · · A.· · · "ChEAR," Chubb Enterprise               ·3· ·primary and secondary.
·4· ·Architecture report.                                   ·4· · · · · Q.· · · And they are located where?
·5· · · · · Q.· · · And --                                  ·5· · · · · A.· · · Raleigh and Salisbury, Connecticut.
·6· · · · · A.· · · "CAZ," Canada zone probably.· I'm       ·6· · · · · Q.· · · And outside of the United States
·7· ·guessing.· But I never heard about this word "CAZ."    ·7· ·today, where are the data centers located?
·8· · · · · Q.· · · Before the lunch, you weren't           ·8· · · · · A.· · · So, for Latin America, it's either
·9· ·remembering what "CAZ" meant.                          ·9· ·somewhere in Texas, Dallas, I think.· For Europe,
10· · · · · A.· · · Yeah, that's what I'm saying.· I know   10· ·it's in Crowley (phonetic), London.· Singapore, I
11· ·I heard of this, "CAZ."                                11· ·think, but that's not my -- I'm not...
12· · · · · · · · · But really what we use to the naming    12· · · · · Q.· · · You said there were eight data
13· ·Canada we used "Z" for "Zone," right.· And "CA" --     13· ·centers today?
14· ·but Canada is a country, not a Zone.· So it doesn't    14· · · · · A.· · · I'm just -- two of them I know.
15· ·make sense.                                            15· ·Other one I know because it's in Dallas, but it
16· · · · · Q.· · · Alright.· And as I read this document   16· ·supports the Latin America, all the...
17· ·under column "N" --                                    17· · · · · · · · · And Crowley (phonetic) I know because
18· · · · · · · · · MR. FLEMING:· Talking about the         18· ·that's sort of -- but I think it's one in Singapore.
19· ·attachment?                                            19· ·Other one I don't know where they are.
20· · · · · · · · · MR. HINDERAKER:· I am.· Thank you.      20· · · · · Q.· · · Okay.· Do you know if there's one in
21· · · · · Q.· · · With the document being 1 of 2, you     21· ·Australia, a data center?
22· ·know, the attachment on the page being 1 of 2?         22· · · · · A.· · · No, I don't think so.· I don't know.
23· · · · · A.· · · Yeah.                                   23· · · · · Q.· · · You don't one way or the other?
24· · · · · Q.· · · It identifies data center location.     24· · · · · A.· · · I don't know.
25· · · · · A.· · · Yeah, in column "N."                    25· · · · · Q.· · · Are all of the applications --


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·1· ·speaking today, are all of the applications that       ·1· ·center, service center, those guys.· Sometimes it
·2· ·support insurance policies sold in Canada hosted       ·2· ·comes with the project management team.· This is
·3· ·from the data center in Raleigh?                       ·3· ·what we want to do, this is what we think we should
·4· · · · · A.· · · Raleigh.                                ·4· ·do.· Let's see how much in the bank, how many people
·5· · · · · Q.· · · Do you know when the migration from     ·5· ·we need, how long it will take.
·6· ·the Toronto data center to everything being on the     ·6· · · · · Q.· · · Did you say project management team
·7· ·Raleigh data center was completed?                     ·7· ·or product management team?
·8· · · · · A.· · · Completed no, I don't.· Exact date, I   ·8· · · · · A.· · · Product managers have the project
·9· ·don't know.· It's somewhere -- it was unleashed 2018   ·9· ·manager inside.· It's like every product they cannot
10· ·or late 2017.· But I don't know the exact month.       10· ·speak IT terms.· So they need somebody who is like
11· · · · · · · · · (Deposition Exhibit 161, Architecture   11· ·project manager for products.
12· · · · · · ·Introduction - Fiduciary PI Model            12· · · · · Q.· · · Alright.· So slowing it down a little
13· · · · · · ·FED006068_0001 to FED006068_0006 marked      13· ·bit, we talked earlier this morning about what a
14· · · · · · ·Confidential, was marked for                 14· ·"product" is.
15· · · · · · ·identification.)                             15· · · · · A.· · · Yes.
16· · · · · Q.· · · This Exhibit 161 is dated January 22,   16· · · · · Q.· · · A form of "coverage?"
17· ·2015.· It has a title, "Architecture Introduction -    17· · · · · A.· · · Yeah.
18· ·Fiduciary PI Model," and it is prepared by Joanne      18· · · · · Q.· · · So somebody that is responsible for
19· ·Kelly.                                                 19· ·the product would like to have IT support for the
20· · · · · · · · · Who is Joanne Kelly, if you know?       20· ·product, that person works with a project manager?
21· · · · · A.· · · She used to be the architect on the     21· · · · · A.· · · Yeah.
22· ·compliance team.                                       22· · · · · Q.· · · Who then interfaces with IT --
23· · · · · Q.· · · Do you know -- what is your             23· · · · · A.· · · Yeah, yeah.
24· ·understanding of the meaning of a "fiduciary PI        24· · · · · Q.· · · -- to describe the desired scope?
25· ·model?"                                                25· · · · · A.· · · Yeah.

                                               Page 159                                                    Page 161
·1· · · · · A.· · · "PI" the "profitability indicator       ·1· · · · · Q.· · · Okay.· So the original source of the
·2· ·model?· "I don't know why she put the "fiduciary."     ·2· ·desire for the technology application comes from
·3· ·I don't really know what that is.                      ·3· ·persons responsible for the products, the forms of
·4· · · · · Q.· · · Okay, fair enough.· Fair enough.        ·4· ·coverage?
·5· ·That's all I'm asking.                                 ·5· · · · · A.· · · Products or operations.
·6· · · · · · · · · Are you familiar with this form of      ·6· · · · · Q.· · · Or operations?
·7· ·document?                                              ·7· · · · · A.· · · Yeah.· Operations guy, they need it
·8· · · · · A.· · · Okay.· So there are similar documents   ·8· ·because they have to run the report.· If somebody
·9· ·and I'm guessing that that's all it probably is.       ·9· ·asks you like how your office run, how much you
10· · · · · · · · · MR. FLEMING:· He's not asking you to    10· ·bring the money, how much you spend the money.
11· ·guess.                                                 11· · · · · Q.· · · Okay.
12· · · · · · · · · THE WITNESS:· Okay.                     12· · · · · A.· · · Somebody there who creates all the
13· · · · · A.· · · This appears like part of the           13· ·reports, that's not product guys, it's operations
14· ·document which we used to use to capture the scope     14· ·guys.
15· ·saying that in the future we are -- we want to do      15· · · · · Q.· · · So we've identified "operations"
16· ·the project and that's how the project will look       16· ·people?
17· ·like, scoping terms stuff.                             17· · · · · A.· · · Yes.
18· · · · · Q.· · · Okay.· Who gives you the "scoping"      18· · · · · Q.· · · And we've identified "product"
19· ·information?                                           19· ·people?
20· · · · · · · · · Let me rephrase that question to be     20· · · · · A.· · · Yeah.· Product guys are the guy that
21· ·more precise.                                          21· ·build the product and they sell.· Operations guys is
22· · · · · · · · · Who gives IT the "scoping"              22· ·the one who keeps all the documentation.
23· ·information?                                           23· · · · · Q.· · · I understand the difference.
24· · · · · A.· · · It comes from the front people.         24· · · · · · · · · And how about the underwriters, do
25· ·Sometimes it comes with the operations team, call      25· ·you put them in the "product" category?


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